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                  UNITED STATES DISTRICT COURT
                     DISTRICT OF CONNECTICUT


                                        )
145 SISSON AVENUE, LLC                  )
                                        )
                 PLAINTIFF              )    CIVIL ACTION NO.:
                                        )
V.                                      )    3:23-CV-00903-MPS
                                        )
ARON PURETZ                             )
                                        )
                 DEFENDANT              )
                                        )    JUNE 4, 2024

                      CERTIFICATE OF SERVICE

     I hereby certify that a copy of the attached was mailed
on this 4 th day of June, 2024 to:

Aron Puretz
43 Fenway Circle
Staten Island, New York 10308-1240
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Case 3:23-cv-00903-MPS Document 41 (Ex Parte)                                       Filed 05/03/24 Page 1 of 3




                                      UNITED STATES DISTRICT COURT
                                        DISTRICT OF CONNECTICUT

                                                                              )
  145 SISSON AVENUE, LLC                                                      )
                                                                              )
                                   PLAINTIFF                                  )         CIVIL ACTION NO.:
                                                                              )
  V.                                                                          )         3:23-CV-00903-MPS
                                                                              )
  ARON PURETZ                                                                 )
                                                                              )
                                   DEFENDANT                                  )
                                                                              )         MAY 3, 2024

                               EX PARTE MOTION FOR CHARGING ORDER

             Plaintiff 145 Sisson Avenue, LLC moves for a charging
  order to enter against Defendant Aron Puretz's interest in
  the following entities:
                                 Hoyt Bedford Limited Partnership
                                   Agent: Riverside Filings LLC
                                         28 Crystal Street
                                     Wethersfield, CT, 06109
                                       Hoyt Bedford Manager LLC
                                      Agent: VCORP SERVICES, LLC
                                     108 W. 13TH STREET-SUITE 100
                                         WILMINGTON, DE 19801
                                   Apex Equity Group LLC
                            Agent: THE CORPORATION TRUST COMPANY
                                  CORPORATION TRUST CENTER
                                     1209 ORANGE STREET
                                    WILMINGTON, DE 19801
                     PAXE HARTFORD PORTFOLIO LIMITED PARTNERSHIP
                            Agent: Riverside Filings LLC
                                  28 Crystal Street
                               Wethersfield, CT, 06109




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Case 3:23-cv-00903-MPS Document 41 (Ex Parte)                                         Filed 05/03/24 Page 2 of 3




                                     PAXE HARTFORD PORTFOLIO GP LLC
                                         Agent: David Helfgott
                                             36 Airport Road
                                           Lakewobd, NJ 08701
                                    PAXE GARDEN LIMITED PARTNERSHIP
                                      Agent: Riverside Filings LLC
                                            28 Crystal Street
                                        Wethersfield, CT, 06109
                                               PAXE GARDEN GP LLC
                                              Agent: David Helfgott
                                                 36 Airport Road
                                               Lakewood, NJ 08701
                      PAXE HARTFORD PORTFOLIO LIMITED PARTNERSHIP
                             Agent: Riverside Filings LLC
                                   28 Crystal Street
                                Wethersfield, CT, 06109
                                    PAXE HARTFORD PORTFOLIO GP LLC
                                        Agent: David Helfgott
                                            36 Airport Road
                                          Lakewood, NJ 08701
                             CLEMENS PLACE CT LIMITED PARTNERSHIP
                                     526 Westchester Road
                                   Colchester, CT 06415-2228
                                              CLEMENS MANAGER LLC
                                             Agent: David Helfgott
                                                36 Airport Road
                                              Lakewood, NJ 08701
                                           ASYLUM HILL APT LLC
                                        Agent: VCORP SERVICES, LLC
                                            67 Burnside Avertue
                                         East Hartford, CT, 06108
   (collectively "Entitiesn).                                  Plaintiff further requests a
  temporary restraining order enter against Aron Puretz and
  Entities to prevent them from taking any actions which would
  defeat the effectiveness of the charging order before the
  court rules upon this application.
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                                                               Putnam LowryNsq.
                                                               for Plaintiff -~5 Sisson Avenue,

                                              FORD &         1-'""'"'-LI_,~.KAS_~


                                              280 Trumbull Street - Suite 2200
                                              Hartford, CT 06103
                                              Direct: (860) 808-4213
                                              Mobile: (860) 543-4372
                                              Fax: (860) 249-7500
                                              Email: PTL@HPLowry.com
                                              Federal Bar# CT05955




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                                       UNITED STATES DISTRICT COURT
                                         DISTRICT OF CONNECTICUT

                                                                               )
    145 SISSON AVENUE, LLC                                                     )
                                                                               )
                                    PLAINTIFF                                  )         CIVIL ACTION NO.:
                                                                               )
   V.                                                                          )         3:23-CV-00903-MPS
                                                                               )
   ARON PURETZ                                                                 )
                                                                               )
                                    DEFENDANT                                  )
                                                                               )         MAY 3, 2024

                                           BRIEF RE: CHARGING ORDER

              Plaintiff 145 Sisson Avenue, LLC submits this brief in
   support of its application for a charging order pursuant to
   Local Rule 7(a) (1).


   STATUTORY BASIS FOR CHARGING ORDERS

              Charging orders are allowed by statute for limited
   liability companies. 1                           In particular, Connecticut General
   Statutes §34-259b provides:
                        On application by a judgment creditor of a
                        member or transferee, a court may enter a
                        charging order against the transferable
                        interest of the judgment debtor for the
                        unsatisfied amount of the judgment. Subject
                        to subsection (e) of this section, a
                        charging order constitutes a lien on a
                        judgment debtor's transferable interest and
   1 Charging orders were originally applied to general
   partnerships. This has been statutorily expanded to limited
   partnerships and limited liability companies.


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                         requires the 1imited 1iabi1ity company to
                         pay over to the person to which the charging
                         order was issued any distribution that
                         otherwise wou1d be paid to the judgment
                         debtor. To the extent that the transferable
                         interest of the judgment debtor is so
                         charged, the judgment creditor has only the
                         right to receive any distribution or
                         distributions to which the judgment debtor
                         would otherwise have been entitled in
                         respect of such transferable interest.
                         [emphasis added]
   The concept of a charging order was first raised in the
   Uniform Partnership Act adopted by the National Conference
   of Commissioners on Uniform State Laws in 1914. 2                                                          Section
   28(1) provided:
                         On due application to a competent court by
                         any judgment creditor of a partner, the
                         court which entered the judgment, order, or
                         decree, or any other court, .may charge the
                         interest of the debtor partner with payment
                         of the unsatisfied amount of such judgment
                         debt with interest thereon; and may then or
                        later appoint a receiver of his share of the
                        profits, and of any other money due or to
                        fall due to him in respect of the
                        partnership, and make all other orders,
                        directions, accounts and inquiries which the
                        debtor partner might have made, or which the
                        circumstances of the case may require.
                        [emphasis added]
   Regrettably, the drafters failed to appreciate the
   procedures for execution on a judgment are quintessentially

   2 And may well have originated with the English Partnership

   Act of 1890 according to the comment to the Uniform Law
   Commissioners' Uniform Limited Liability Company of Act
    (2006) §503.

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    local (and hence hard to regulate by uniform law).                                                             There is

    no uniform procedure between the states (nor is there a need

    for one).              Even federal courts use the state procedure of

    their situs for executing on judgments (see FRCP 69).

   Connecticut did not have a concept of a charging order at

   the time the 1914 Uniform Partnership Act was adopted and

   the charging order procedure was little used (meaning no

   Connecticut case law developed).

               The concept of a charging order continues to exist in

   the present Connecticut enactment of the Uniform Partnership

   Act at Connecticut General Statutes §34-349 3 and the
   3   Partner's transferable interest subject to charging order
        (a)    On application by a judgment creditor of a partner
               or of a partner's transferee, a court having
               jurisdiction may charge the transferable interest
               of the judgment debtor to satisfy the judgment.
               The court may appoint a receiver of the s.hare of
               the distributions due or to become due to the
               judgment debtor in respect of the partnership and
               make all other orders, directions, accounts and
               inquiries the judgment debtor might have made or
               which the circumstances of the case may require.

         (b)            A charging order constitutes a lien on the
                        judgment debtor's transferable interest in the
                        partnership. The court may order a foreclosure of
                        the interest subject to the charging order at any
                        time. The purchaser at the foreclosure sale has
                        the rights of a transferee.

         (c)            At any time before foreclosure, an interest
                        charged may be redeemed:
                        (1)  By the judgment debtor;
                        (2)  with property other than partnership
                             property, by one or more of the other

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       Connecticut enactment of the Uniform Limited Partnership Act
    at Connecticut General Statutes §34-30 4 (as well as under the
    Limited Liability Company Act).                                        While little used, the
    procedure is statutorily authorized.


   WHAT IS THE EFFECT OF A CHARGING ORDER?

               A charging order places a lien on the judgment debtor's
    interest in the limited !ability company, see Madison Hills



                                    partners; or
                         (3)        with partnership property, by one or more of
                                    the other partners with the consent of all of
                                    the partners whose interests are not so
                                    charged.
         (d)             Sections 34-300 to 34-399, inclusive, do not
                         deprive a partner of a right under exemption laws
                         with respect to the partner's interest in the
                         partnership.
         (e)             This section provides the exclusive remedy by
                         which a judgment creditor of a partner or
                         partner's transferee may satisfy a judgment out of
                         the judgment debtor's transferable interest in the
                         partnership.
   4 Rights of judgment creditor to charge partnership interest
   of partner
   On application to a court of competent jurisdiction by any
   judgment creditor of a partner, the court may charge the
   partnership interest of the partner with payment of the
   unsatisfied amount of the judgment with interest. To the
   extent so charged, the judgment creditor has only the rights
   of an assignee of the partnership interest. Nothing in ·this
   chapter shall be held to deprive a partner of the benefit of
   any exemption laws applicable to his partnership interest.

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    Ltd.       Partnership I I v. Madison Hills,                                      Inc.,       35 Conn.App. 81,

    84 (1994).

                         "The UPA permits a judgment creditor of a partner
                         to place a type of lien known as a charging order
                         on the partner's interest in the partnership.
                         General Statutes§ 34-66; 1 A. Bromberg & L.
                         Ribstein, Partnership (1994) § 3.05, p. 3:71. "[A]
                         charging order ... is neither fish nor fowl. It is
                         neither an assignment nor an attachment." Bank of
                         Bethesda v. Koch, 44 Md.App. 350, 354, 408 A.2d
                         767 (1979). Under this procedure, a court may
                         grant a judgment creditor's application and issue
                         an order charging the debtor partner's interest in
                         the partnership with payment of the judgment debt.
                         General Statutes §34-66. The charging order
                         leaves the partnership intact but diverts to the
                         judgment creditor the debtor partner's share of
                         the profits. General Statutes §34-66; A.
                         Weinberger, "Making Partners Pay Child Support:
                         The Charging Order at 100," 27 Hous.L.Rev. 297,
                         302 (1990).  The charging order replaced levies of
                         execution as the remedy for reaching the interest
                         of a partner. See generally J. Gose, "The Charging
                         Order under the Uniform Partnership Act," 28
                         Wash.L.Rev. 1, 7 (1953).

   Id. At pages 84-85.                          The charging order for a limited

   liability company is the same as a charging order under the

   Uniform Partnership Act.




   LANGUAGE REQUIRED IN ORDER

              Plaintiff 145 Sisson Avenue, LLC inserted the following

   language in the charging order: "Breach of this Order upon

   due application to this Court shall be considered a contempt

   of this Court and may be punishable by fine or imprisonment

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    or both."              Plaintiff believes such language is required by
    Connecticut General Statutes §52-356b(d) .

    CONCLUSION

              The charging orders should be granted as requested by
    Plaintiff 145 Sisson Avenue, LLC.



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                                   -----                  LC       -       ·- --=
                              /              FORD & :A:Y.LE._KAS I LJ,,
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                                             Hartford, CT 06103
                                             Direct: ( 8 60) 8 08-4213
                                             Mobile: (860) 543-4372
                                             Fax: (860) 249-7500
                                             Email: PTL@HPLowry.com
                                             Federal Bar# CT05955




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                                       UNITED STATES DISTRICT COURT
                                         DISTRICT OF CONNECTICUT


                                                                               )
    145 SISSON AVENUE, LLC                                                     )
                                                                               )
                                    PLAINTIFF                                  )         CIVIL ACTION NO.:
                                                                               )
   V.                                                                          )         3:23-CV-00903-MPS
                                                                               )
   ARON PURETZ                                                                 )
                                                                               )
                                    DEFENDANT                                  )
                                                                               )         MAY 3, 2024


                                               DRAFT CHARGING ORDER

              After the foregoing came on for a hearing,

              IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

              1.        The interest of Aron Puretz in the following

   entries:

                                  Hoyt Bedford Limited Partnership
                                    Agent: Riverside Filings LLC
                                          28 Crystal Street
                                       Wethersfield, CT, 06109

                                        Hoyt Bedford Manager LLC
                                       Agent: VCORP SERVICES, LLC
                                      108 W. 13TH STREET-SUITE 100
                                          WILMINGTON, DE 19801

                                    Apex Equity Group LLC
                             Agent: THE CORPORATION TRUST COMPANY
                                   CORPORATION TRUST CENTER
                                      1209 ORANGE STREET
                                     WILMINGTON, DE 19801

                      PAXE HARTFORD PORTFOLIO LIMITED PARTNERSHIP
                             Agent: Riverside Filings LLC
                                   28 Crystal Street
                                Wethersfield, CT, 06109


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                                     PAXE HARTFORD PORTFOLIO GP LLC
                                         Agent: David Helfgott
                                             36 Airport Road
                                           Lakewood, NJ 08701
                                    PAXE GARDEN LIMITED PARTNERSHIP
                                      Agent: Riverside Filings LLC
                                            28 Crystal Street
                                        Wethersfield, CT, 06109
                                               PAXE GARDEN GP LLC
                                              Agent: David Helfgott
                                                 36 Airport Road
                                               Lakewood, NJ 08701
                       PAXE HARTFORD PORTFOLIO LIMITED PARTNERSHIP
                              Agent: Riverside Filings LLC
                                    28 Crystal Street
                                 Wethersfield, CT, 06109
                                     PAXE HARTFORD PORTFOLIO GP LLC
                                          Agent: David Helfgott
                                             36 Airport Road
                                           Lakewood, NJ 08701
                              CLEMENS PLACE CT LIMITED PARTNERSHIP
                                      526 Westchester Road
                                    Colchester, CT 06415-2228
                                               CLEMENS MANAGER LLC
                                              Agent: David Helfgott
                                                 36 Airport Road
                                               Lakewood, NJ 08701
                                           ASYLUM HILL APT LLC
                                        Agent: VCORP SERVICES, LLC
                                            67 Burnside Avenue
                                         East Hartford, CT, 0610B
    (collectively "Entities") are charged with payment of the
   unsatisfied .amount of the judgment debt herein and also with
   costs and interest.
              2.        The Entities are directed to pay Plaintiff 145
   Sisson Avenue, LLC present and future shares of any and all
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    distributions, credits, drawings, or payments due to

    Defendant Aron Puretz until the judgment is satisfied in

    full,        including interest and costs.

              3.         Until said judgment is satisfied in full,

    including interest and costs, the Entities shall make no

    loans to any owner or anyone else.

              4.         Until said judgment is satisfied in full,

   including interest and costs, the Entities shall make no

   capital acquisitions without either Court approval or

   approval of Plaintiff 145 Sisson Avenue, LLC.

              5.         Until said judgment is satisfied in full,

   including interest and costs, neither the Entities nor their

   owners shall undertake, enter into, or consummate any sale,

   encumbrance, hypothecation, or modification of any

   partnership interest without either Court approval or

   approval of Plaintiff 145 Sisson Avenue, LLC.

              6.        Within ten days of service of a copy of this

   Order, the Entities shall supply to Plaintiff 145 Sisson

   Avenue, LLC a full, complete, and accurate copy of the

   Partnership Agreement, Operating Agreement or similar

   document, including any and all amendments or modifications

   thereto; true, complete, and accurate copies of any and all

   Federal and State income tax or informational income tax

   returns filed within the past two years; balance sheets and
                               - 3 -
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    profit and loss statements for the past two years; and
    balance sheet and profit and loss statement for the most
    recent present period for which same has been computed.
    Further, upon ten-day notice from the Plaintiff to the
   Entities, all books and records shall be produced for
   inspection, copying, and examination in the Plaintiff's
   office.
              7.         Until said judgment is satisfied in full,
   including all costs and interest thereon, all future
   statements reflecting cash position, balance sheet position,
   and profit and loss, Entities shall supply to Plaintiff 145
   Sisson Avenue, LLC within thirty days of the close of the
   respective accounting period for which said data is or may
   be generated.
              8.        The Order set forth in Paragraph One is exclusive
   of any amounts payable to Defendant Aron Puretz under a
   properly asserted legal exemption right if same is properly
   claimed within twenty days of the service of a copy of this
   Order.           Breach of this Order upon due application to this

   Court shall be considered a contempt of this Court and .may

   be punishable by fine or imprisonment or both.

              Upon due application, Plaintiff 145 Sisson Avenue, LLC
   may apply to this Court for a further modification of this
   Order, in the event the Plaintiff feels it has cause to seek
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   the appointment of a receiver for Partnership *Partnership*
   or the sale of the debtor's interest in the Entities as
   provided for by law.
              Dated at Hartford, Connecticut, this                                                          day of

   --------
                                f   2024.




                                              Michael P. Shea, Chief USDJ




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                                      UNITED STATES DISTRICT COURT
                                        DISTRICT OF CONNECTICUT

                                                                              )
  145 SISSON AVENUE, LLC                                                      )
                                                                              )
                                   PLAINTIFF                                  )         CIVIL ACTION NO.:
                                                                              )
  V.                                                                          )         3:23-CV-00903-MPS
                                                                              )
  ARON PURETZ                                                                 )
                                                                              )
                                   DEFENDANT                                  )
                                                                              )         MAY 16, 2024

                        SECOND EX PARTE MOTION FOR CHARGING ORDER

             Plaintiff 145 Sisson Avenue, LLC moves for a charging
  order to enter against Defendant Aron Puretz's interest in
  the following entities:
                                                  FHTDD, LP
                                           Agent: Boruch Drillrnan
                                          110 Hill Street-Suite lE
                                          Newark, New Jersey 07102
                                              FHT Manager, LLC
                                           Agent: Boruch Drillrnan
                                          110 Hill Street-Suite lE
                                          Newark, New Jersey 07102
   (collectively "Entities").




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                                     /01:1-rrs-e 1~~ 14 5 Sisson Avenue ,
                                    -          LLC
                               ,/        FORD & PAULEKAS, LLP
                                         280 Trumbull Street - Suite 2200
                                         Hartford, CT 06103
                                         Direct: (860) 808-4213
                                         Mobile: (860) 543-4372
                                         Fax: (860) 249-7500
                                         Email: PTL@HPLowry.com
                                         Federal Bar# CT05955




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                                       UNITED STATES DISTRICT COURT
                                         DISTRICT OF CONNECTICUT


                                                                              )
    145 SISSON AVENUE, LLC                                                    )
                                                                              )
                                    PLAINTIFF                                 )          CIVIL ACTION NO.:
                                                                              )
   V.                                                                         )          3:23-CV-00903-MPS
                                                                              )
   ARON PURETZ                                                                )
                                                                              )
                                   DEFENDANT                                  )
                                                                              )         MAY 16, 2024


                                               DRAFT CHARGING ORDER

              After the foregoing came on for a hearing,

              IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

              1.        The interest of Aron Puretz in the following

   entries:

                                                  FHTDD, LP
                                           Agent: Boruch Drillman
                                          110 Hill Street-Suite lE
                                          Newark, New Jersey 07102

                                              FHT Manager, LLC
                                           Agent: Boruch Drillman
                                          110 Hill Street-Suite lE
                                          Newark, New Jersey 07102

    (collectively "Entities") are charged with payment of the

   unsatisfied amount of the judgment debt herein and also with

   costs and interest.

              2.        The Entities are directed to pay Plaintiff 145

   Sisson Avenue, LLC present and future shares of any and all

   distributions, credits, drawings, or payments due to

   G:\2433 Constitution Credit LLa007 South Green Prtfolio v. Paxe Sisson CT Lmtd Partnership loan\Federal-145 Sisson Guranty
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    Defendant Aron Puretz until the judgment is satisfied in

    full, including interest and costs.

               3.        Until said judgment is satisfied in full,

    including interest and costs, the Entities shall make no

    loans to any owner or anyone else.

              4.         Until said judgment is satisfied in full,

   including interest and costs, the Entities shall make no

   capital acquisitions without either Court approval or

   approval of Plaintiff 145 Sisson Avenue, LLC.

              5.         Until said judgment is satisfied in full,

   including interest and costs, neither the Entities nor their

   owners shall undertake, enter into, or consummate any sale,

   encumbrance, hypothecation, or modification of any

   partnership interest without either Court approval or

   approval of Plaintiff 145 Sisson Avenue, LLC.

              6.        Within ten days of service of a copy of this

   Order, the Entities shall supply to Plaintiff 145 Sisson

   Avenue, LLC a full, complete, and accurate copy of the

   Partnership Agreement, Operating Agreement or similar

   document, including any and all amendments or modifications

   thereto; true, complete, and accurate copies of any and all

   Federal and State income tax or informational income tax

   returns filed within the past two years; balance sheets and

   profit and loss statements for the past two years; and
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    balance sheet and profit and loss statement for the most
    recent present period for which same has been computed.
    Further, upon ten-day notice from the Plaintiff to the
    Entities, all books and records shall be produced for
    inspection, copying, and examination in the Plaintiff's
   office.
              7.         Until said judgment is satisfied in full,
   including all costs and interest thereon, all future
   statements reflecting cash position, balance sheet position,
   and profit and loss, Entities shall supply to Plaintiff 145
   Sisson Avenue, LLC within thirty days of the close of the
   respective accounting period for which said data is or may
   be generated.
              8.        The Order set forth in Paragraph One is exclusive
   of any amounts payable to Defendant Aron Puretz under a
   properly asserted legal exemption right if same is properly
   claimed within twenty days of the service of a copy of this
   Order.           Breach of this Order upon due app1ication to this
   Court sha11 be considered a contempt of this Court and .may
   be punishab1e by fine or imprisonment or both.
              Upon due application, Plaintiff 145 Sisson Avenue, LLC
   may apply to this Court for a further modification of this
   Order, in the event the Plaintiff feels it has cause to seek
   the appointment of a receiver for Partnership *Partnership*
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    or the sale of the debtor's interest in the Entities as
    provided for by law.
              Dated at Hartford, Connecticut, this                                                           day of

   - - - - - - - -,                 2024.




                                              Michael P. Shea, Chief USDJ




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                                       UNITED STATES DISTRICT COURT
                                         DISTRICT OF CONNECTICUT

                                                                               )
    145 SISSON AVENUE, LLC                                                     )
                                                                               )
                                    PLAINTIFF                                  )         CIVIL ACTION ·NO.:
                                                                               )
   V.                                                                          )         3:23-CV-00903-MPS
                                                                               )
   ARON PURETZ                                                                 )
                                                                               )
                                    DEFENDANT                                  )
                                                                               )         MAY 16, 2024

                                           BRIEF RE: CHARGING ORDER

              Plaintiff 145 Sisson Avenue, LLC submits this brief in
   support of its application for a charging order pursuant to
   Local Rule 7 (a) (1).


   STATUTORY BASIS FOR CHARGING ORDERS

              Charging orders are allowed by statute for limited
   liability companies. 1                           In particular, Connecticut General
   Statutes §34-259b provides:
                        On application by a judgment creditor of a
                        member or transferee, a court may enter a
                        charging order against the transferable
                        interest of the judgment debtor for the
                        unsatisfied amount of the judgment. Subject
                        to subsection (e) of this section, a
                         charging order constitutes a 1ien on a
                         judgment debtor's trans£erab1e interest and
   1 Charging orders were originally applied to general
   partnerships. This has been statutorily expanded to limited
   partnerships and limited liability companies.


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                         requires the Limited 1iabi1ity company to
                         pay over to the person to which the charging
                         order was issued any distribution that
                         otherwise wou1d be paid to the judgment
                         debtor. To the extent that the transferable
                         interest of the judgment debtor is so
                         charged, the judgment creditor has only the
                         right to receive any distribution or
                         distributions to which the judgment debtor
                         would otherwise have been entitled in
                         respect of such transferable interest.
                         [emphasis added]
   The concept of a charging order was first raised in the
   Uniform Partnership Act adopted by the National Conference
   of Commissioners on Uniform State Laws in 1914. 2                                                         Section
   28(1) provided:
                         On due application to a competent court by
                         any judgment creditor of a partner, the
                         court which entered the judgment, order, or
                         decree, or any other court, .may charge the
                        interest 0£ the debtor partner with payment
                         0£the unsatisfied amount 0£ such judgment
                        debt with interest thereon; and may then or
                        later appoint a receiver of his share of the
                        profits, and of any other money due or to
                        fall due to him in respect of the
                        partnership, and make all other orders,
                        directions, accounts and inquiries which the
                        debtor partner might have made, or which the
                        circumstances of the case may require.
                        [emphasis added]
   Regrettably, the drafters failed to appreciate the
   procedures for execution on a judgment are quintessentially

   2And may well have originated with the English Partnership
   Act of 1890 according to the comment to the Uniform Law
   Commissioners' Uniform Limited Liability Company of Act
    (2006)        §503.


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   local (and hence hard to regulate by uniform law).                                                             There is

   no uniform procedure between the states (nor is there a need

   for one).              Even federal courts use the state procedure of

   their situs for e~ecuting on judgments (see FRCP 69).

   Connecticut did not have a concept of a charging order at

   the time the 1914 Uniform Partnership Act was adopted and

   the charging order procedure was little used (meaning no

   Connecticut case law developed).

              The concept of a charging order continues to exist in

   the present Connecticut enactment of the Uniform Partnership

   Act at Connecticut General Statutes §34-349 3 and the
   3   Partner 1 s transferable interest subject to charging order
        (a)      On application by a judgment creditor of a partner
                  or of a partner 1 s transferee, a court having
                  jurisdiction may charge the transferable interest
                 of the judgment debtor to satisfy the judgment.
                 The court may appoint a receiver of the share of
                 the distributions due or to become due to the
                  judgment debtor in respect of the partnership and
                 make all other orders, directions, accounts and
                 inquiries the judgment debtor might have made or
                 which the circumstances of the case may require.

        (b)            A charging order constitutes a lien on the
                       judgment debtor's transferable interest in the
                       partnership. The court may order a foreclosure of
                       the interest subject to the charging order at any
                       time. The purchaser at the foreclosure sale has
                       the rights of a transferee.

        (c)            At any time before foreclosure, an interest
                       charged may be redeemed:
                       (1)  By the judgment debtor;
                       (2)  with property other than partnership
                            property, by one or more of the other

                                                              - 3 -
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    Connecticut enactment of the Uniform Limited Partnership Act

    at Connecticut General Statutes §34-30 4 (as well as under the

    Limited Liability Company Act).                                        While little used, the

    procedure is statutorily authorized.



   WHAT IS THE EFFECT OF A CHARGING ORDER?

               A charging order places a lien on the judgment debtor's

    interest in the limited lability company, see Madison Hills




                                   partners; or
                        (3)        with partnership property, by one or more of
                                   the other partners with the consent of all of
                                   the partners whose interests are not so
                                   charged.

         (d)            Sections 34-300 to 34-399, inclusive, do not
                        deprive a partner of a right under exemption laws
                        with respect to the partner's interest in the
                        partnership.

         (e)            This section provides the exclusive remedy by
                        which a judgment creditor of a partner or
                        partner's transferee may satisfy a judgment out of
                        the judgment debtor's transferable interest in the
                        partnership.
   4 Rights of judgment creditor to charge partnership interest
   of partner
   On application to a court of competent jurisdiction by any
   judgment creditor of a partner, the court may charge the
   partnership interest of the partner with payment of the
   unsatisfied amount of the judgment with interest. To the
   extent so charged, the judgment creditor has only the rights
   of an assignee of the partnership interest. Nothing in this
   chapter shall be held to deprive a partner of the benefit of
   any exemption laws applicable to his partnership interest.

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    Ltd.       Partnership I I v. Madison Hills, Inc.,                                            35 Conn.App. 81,

    84 (1994).

                        "The UPA permits a judgment creditor of a partner
                        to place a type of lien known as a charging order
                        on the partner's interest in the partnership.
                        General Statutes§ 34-66; 1 A. Bromberg & L.
                        Ribstein, Partnership (1994) § 3.05, p. 3:71. "[A]
                        charging order ... is neither fish nor fowl. It is
                        neither an assignment nor an attachment." Bank of
                        Bethesda v. Koch, 44 Md.App. 350, 354, 408 A.2d
                        767 (1979). Under this procedure, a court may
                        grant a judgment creditor's application and issue
                        an order charging the debtor partner's interest in
                        the partnership with payment of the judgment debt.
                        General Statutes §34-66. The charging order
                        leaves the partnership intact but diverts to the
                        judgment creditor the debtor partner's share of
                        the profits. General Statutes §34-66; A.
                        Weinberger, "Making Partners Pay Child Support:
                        The Charging Order at 100," 27 Hous.L.Rev. 297,
                        302 (1990).  The charging order replaced levies of
                        execution as the remedy for reaching the interest
                        of a partner. See generally J. Gose, "The Charging
                        Order under the Uniform Partnership Act," 28
                        Wash.L.Rev. 1, 7 (1953).

   Id. At pages 84-85.                          The charging order for a limited

   liability company is the same as a charging order under the

   Uniform Partnership Act.




   LANGUAGE REQUIRED IN ORDER

              Plaintiff 145 slsson Avenue, LLC inserted the following

   language in the charging order: "Breach of this Order upon

   due application to this Court shall be considered a contempt

   of this Court and may be punishable by fine or imprisonment

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    or both."               Plaintiff believes such language is required by

    Connecticut General Statutes §52-356b(d).


   CONCLUSION

              The charging orders should be granted as requested by

   Plaintiff 145 Sisson Avenue, LLC.



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NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE COUNSEL/THE PARTIES WILL
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